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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2022, the foregoing Motion was uploaded to the Court’s

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